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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            ABINGDON DIVISION


  STACEY LYNN REICHLER                    )
                                          )
              Plaintiff,                  )
                                          )
  v.                                      )             Case No. 1:21-cv-70637
                                          )
                                          )
  TOWN OF ABINGDON                        )
              Defendant                   )


                                 JOINT RULE 26(f) PLAN

       The parties, come, pursuant to Fed. R. Civ. P. 26(f), having met and conferred, to

 respectfully submit the Joint Discovery Plan (the “Plan”) as set forth below:

       I.     Nature and basis of claims and defenses and the
              possibilities for promptly settling or resolving the
              case.

       The parties have discussed the general nature and basis of each other’s claims and

 defenses. The parties believe there is no opportunity for settlement at this time.

       II.    Rule 26(f) Discovery Plan.

       For all ESI discovery permitted under Rule 26, the parties agree to limit the

 relevant periods (the “Relevant Period”) for discovery from the various parties from June

 8, 2015 (Plaintiff’s date of hire) to March 23, 2020 (one month subsequent to the date of

 termination of employment).

       The parties reserve the right to move for leave to modify the applicable Relevant

 Period should the need arise.

       Pursuant to Rule 26(f), the parties jointly propose the following agreed plan
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 supplementing/amending the discovery provisions set forth in the Pretrial Order:

        A. Plaintiff shall make her Rule 26(a)(2) expert witness disclosures on or before

             four months prior to the trial date. Defendant shall make expert witness

             disclosures fifteen (15) days thereafter.

        B. Regarding electronic discovery issues, see Part III, below.

        C. Regarding issues of assertion or privilege and protection of trial preparation

             materials, see Part III, below (“Privileged Produced Information”).

        D. The parties do not anticipate the need for limitations on discovery.

        E. It appears necessary for a Protective Order to be entered and counsel for

             Defendant will submit a proposed Protective Order along with written

             discovery requests.

        F. The parties agree to transmit and/or serve discovery requests and responses by

             electronic means (e.g. electronic mail and/or electronic file sharing means).

        G. The parties agree to resolve discovery disputes, including disputes concerning

             protective orders, if necessary, in the following manner: 1) detailed email

             exchange (“meet and confer”) between the parties to discuss the discovery

             issue(s) with a deadline to resolve the issues; followed by (2) filing of a Motion

             requesting the Court take formal action.

 III.   Discovery of Electronically Stored Information (“ESI”).

        The parties will comply with the rules governing electronic discovery set forth in

 the Federal Rules of Civil Procedure, applicable local rules, and decisional law. The

 parties hereby submit the following summary of the parties’ conference and agreement

 regarding electronic discovery matters:

        1.      Preservation: The parties agree that Defendant will provide Plaintiff with a
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 communication with Defendant’s Initial Disclosures, describing how electronically stored

 information (“ESI”) has been preserved to date, including litigation hold processes that

 have been implemented and the identification of ESI repositories where potentially

 responsive ESI may reside. The parties agree to securely maintain, and not destroy or

 delete, sources of potentially discoverable information created during the Relevant

 Period, including, to the extent they exist, (i) email back-up tapes, computer hard drives

 and servers, and (ii) network back-up tapes (i.e. tapes or other similar media onto which

 back-up systems store ESI). To the extent they exist, the parties agree to preserve all such

 back-up tapes and other ESI created during the Relevant Period.

        2.     Search Terms: The parties have agreed to the following protocol regarding

 the use of search terms to decrease the scope of production in a manner consistent with

 the letter and spirit proportionality embodied in Rule 26(b). The parties have agreed to

 an iterative search process and to exchange multiple sets of search terms. At the end of

 the process, the search terms provided by the Searching Party will be applied to the ESI

 of the Producing Party. The Producing Party will then create an ESI data set with the

 results and that ESI will be produced subject to an agreed ESI Protocol. The first set of

 search terms will be provided by Plaintiff with Plaintiff’s Initial Disclosures. Thereafter,

 the parties will work in good faith to revise the list of search terms based upon the

 reasonable requests of the Searching Party and the provision of search term results from

 the Producing Party, to include for each set of search terms, the total number of

 documents (including attachments) identified within the full data set for each search term

 responsive ESI will be produced by or before the deadlines applicable under the Requests

 for Production of Documents and Rule 34. The parties agree to work in good faith to agree

 upon reasonable search terms and Key Custodians. Defendant agrees to produce the ESI
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 in searchable PDF format on a platform capable of reviewing the aforementioned ESI.

        3.     “Excessive” ESI Data Set: If one or more of Search Party’s proposed search

 terms produce more than 800 “hits,” Plaintiff, Defendant, and Defendant’s ESI Vendor

 will have a teleconference within fourteen (14) days of the Producing Party notifying the

 Searching Party of the one or more proposed search terms produced the “excessive”

 number of hits.

        4.     Identification of Custodians:      To facilitate the identification of the

 appropriate employees who may possess relevant documents, the parties agree to provide

 to each other with their Initial Disclosures the identification of employees and third

 parties that they reasonably believe could have access to, control over or responsibility for

 potentially discoverable information. The parties will meet and confer in good faith and

 exchange additional information as may be necessary to facilitate the identification, and

 limit the number, of employees for whom the provisions of this section shall be applicable.

 The parties have also agreed to work in good faith to identify on whether particular

 individuals are “Key Custodians” or “Non-Key Custodians”. ESI is required to be collected

 only from Key Custodians. Non-Key Custodians are required to receive a litigation hold

 memorandum.

        5.     Privileged Produced Information:           The parties hereby invoke the

 protections of Federal Rule of Evidence 502 and specifically 502(d) and (e).

        6.     No Waiver of Objections. By agreeing to preserve potentially discoverable

 information in accordance with the terms hereof, the parties do not waive any objection

 to the discovery or admissibility of such information.

        7.     No Subject Matter Waiver. The Parties hereby acknowledge that certain

 disclosures made pursuant to Rule 26 and Rule 16, or through other formal or informal
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 pretrial disclosures, may result in the disclosure of documents or information that is

 otherwise subject to the protections of the attorney/client privilege and work product

 immunity. To the extent that such disclosures are made, the parties agree that any

 arguable waiver of these protections is made in furtherance of the letter and spirit of

 cooperation embodied in Rule 26 and the applicable decisional law, and that such

 disclosure only waives the privilege or immunity, if at all, as to the specific information

 disclosed. The parties agree that no subject matter waiver of attorney/client privilege or

 work product immunity is made or implied by such disclosures, including as to non-

 disclosed aspects of discovery practices, procedures and strategies employed by the

 parties.

 IV.    Depositions

        The parties agree that the use of telephonic and videoconference depositions save

 both parties time and resources. Upon agreement of the parties, to the extent possible,

 the parties agree to schedule depositions via telephonic means or through the use of

 videoconference technology.


 AGREED:


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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on July 8, 2022, the foregoing was sent to the

 following attorneys for the Defendant via the Court’s electronic CM/ECF system.

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                                                 _____/s/N. Winston West, IV
